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                                   AFFRIMATION OF SERVICE

        I, David Kasell, a non-party to the above-captioned litigation, hereby affirm under penalty

 of perjury that on Friday, April 26, 2024, I served PLAINTIFF’S FIRST SET OF

 INTERROGATORIES on DEFENDANT JODIE LOUISE GORDON.

        I effected service by sending it via email and first-class mail or Priority Mail to counsel for

 Defendants:

                                           Maria Patelis, Esq.
                                          79 Tompkins Circle
                                        Staten Island, NY 10301
                                       Email: m.patelis@aol.com

        I declare under penalty of perjury under 28 U.S.C. § 1746 and the laws of the United States

 of America that the foregoing is true and correct.



                                                                                    /s/ David Kase!
                                                                                    David M. Kasell
                                                                                   Kasell Law Firm
                                                                           1038 Jackson Avenue, #4
                                                                         Long Island City, NY 11101




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